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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             MEMORANDUM DECISION
v.                                                               AND ORDER

MARTHA FORREST,                                                 Case No. 2:08CR671DAK

                       Defendant.




       Defendant Martha Forrest has filed a motion for early termination of her supervised

release. On May 28, 2010, Defendant was sentenced to thirty-six months probation. Defendant’s

sentence included six months of home confinement and a monetary assessment of $200.00, both

of which have been met. Defendant’s probation is not scheduled to terminate until May 2013.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” Defendant’s motion is premature because it has been filed prior to the

completion of one year of supervised release. The court can only terminate a period of

supervised release after the termination of at least one year. The court, however, is willing to

consider a similar motion at a later date. Defendant’s current motion to terminate probation is
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DENIED.

     DATED this 5th day of April, 2011.



                                          DALE A. KIMBALL
                                          United States District Judge




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